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                       IN THE UNITED STATES DISTRICT COURT FOR THE
                                  EASTERN DISTRICT OF VIRGINIA

                                            Alexandria Division



   TEC SEC.INC.

                   Plaintiff,

    V.                                                CIVIL ACTION UIOcvllS

   INTERNATIONAL BUSINESS
   MACHINES CORPORATION,et al

                   Defendant.



                    NOTICE OF GROUNDS FOR JUDICIAL DISQUALIFICATION

                   On November 18,2016 Judge Liam O'Grady was assigned the case ofTec Sec

    Inc., V. International Business Machines Corporation,et al. Judge O^Grady has continued to
    handle the case since assigned.

                   On November 23,2021 Judge 0*Grady learned that his wife held stock in Cisco

    and Oracle, not in a mutual fimd as he understood, but in a brokerage account. The difference
    means that he is not entitled to the safe haven exception to being required to disqualify himself

    from Cisco and Oracle cases, as it constitutes a financial interest in a party to the litigation.

                    Disqualification ofjudges to hear cases is governed by 28 U.S.C.§ 455, which
    provides in relevant part:

                   (a)Anyjustice,judge, or magistratejudge ofthe United States shall disqualify
                    himselfin any proceeding in which his impartiality might reasonably be
                    questioned.

                   (b)He shall also disqualify himself in the following circumstances:

                           (4)He knows that he, individually or as a fiduciaiy,or his spouse or minor
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                          child residing in his household, has a financial interest in the subject
                          matter in controversy or in a part}' to the proceedings, or any other interest
                          that could be substantially affected by the outcome of the proceeding.,.
                   Section B of§ 455 leaves the Court with no option but to disqualify himself,
    notwithstanding the absence of any question about his impartiality. This is regrettable given the
    history ofthe case and the Court's familiarity with the issues and the parties. The case will be
    reassigned.

                   The Clerk is directed to docket this Notice in this case.


                                                                Vm
                                                          Liam O'Grai^
                                                          United States District Judge
    Alexandr^Virginia
    January / r ,2022
